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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                     4:11CR3089
                                               )
              v.                               )
                                               )          MEMORANDUM AND ORDER
FRANK RODRIGUEZ III,                           )
                                               )
                      Defendants.              )
                                               )

       The defendant has moved to continue the pretrial motion deadline. Filing No. 17. Defense
counsel explains that due to time and distance issues, he has lacked adequate time to discuss the
evidence and pretrial motions with his client. Based on the showing set forth in the defendant's
motion, the court finds the motion should be granted.

       IT IS ORDERED:

       1)     The defendant's motion to continue, (filing no. 17), is granted.

       2)     The defendant's pretrial motions and briefs shall be filed on or before January 10,
              2012.

       3)     Trial of this case is continued pending the resolution of any pretrial motions filed.

       4)     The ends of justice served by granting defendant's motion to continue outweigh the
              interests of the public and the defendant in a speedy trial, and the additional time
              arising as a result of the granting of the motion, the time between November 25, 2011
              and January 10, 2012, shall be deemed excludable time in any computation of time
              under the requirements of the Speedy Trial Act, for the reason that the parties require
              additional time to adequately prepare the case, taking into consideration due diligence
              of counsel, the novelty and complexity of the case, and the fact that the failure to
              grant additional time might result in a miscarriage of justice. 18 U.S.C. §
              3161(h)(7)(A) & (B).

       DATED this 28th day of November, 2011.

                                              BY THE COURT:

                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
